
PER CURIAM.
Ralph B. Ammons has appealed an habitual offender sentence imposed after he pled nolo contendere in several cases. The habitual offender statute requires that certain findings be made before the enhanced penalties afforded by that statute may be applied. Section 775.084(3)(d), Fla.Stat. (1989). See Walker v. State, 462 So.2d 452 (Fla.1985); Knickerbocker v. State, 604 So.2d 876 (Fla. 1st DCA 1992); Rome v. State, 603 So.2d 723 (Fla. 1st DCA 1992). Because the trial court herein failed to make the required findings, Ammons’ sentence is reversed, and the case is remanded for resentencing.
JOANOS, C.J., and ALLEN and WOLF, JJ., concur.
